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                         UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                               MCALLEN DIVISION

CARLOS VILLARREAL,

Plaintiff,                                                  Case No. 7:19-cv-00075

        v.                                               Honorable Judge Randy Crane

WEBCOLLEX, LLC dba CKS
FINANCIAL,

Defendant.

                                  NOTICE OF SETTLEMENT

        PLEASE TAKE NOTICE that Carlos Villarreal (“Plaintiff”), hereby notifies the Court

that Plaintiff and Defendant Webcollex, LLC dba CKS Financial, have settled all claims between

them in this matter and are in the process of completing the final closing documents and filing

the dismissal.



Respectfully submitted this 31st day of December 2019.

                                                          Respectfully submitted,

                                                          s/ Alexander J. Taylor
                                                          Alexander J. Taylor
                                                          Sulaiman Law Group, Ltd.
                                                          2500 S. Highland Avenue
                                                          Suite 200
                                                          Lombard, IL 60148
                                                          Phone: (630) 575-8181
                                                          ataylor@sulaimanlaw.com
                                                          Attorney for Plaintiff




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                                  CERTIFICATE OF SERVICE

          I hereby certify that I today caused a copy of the foregoing document to be electronically

filed with the Clerk of Court using the CM/ECF system which will be sent to all attorneys of

record.


                                                              s/ Alexander J. Taylor
                                                              Alexander J. Taylor




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